Case 0:18-cv-60059-WJZ Document 26 Entered on FLSD Docket 06/25/2018 Page 1 of 4




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.: 0:18-cv-60059-WJZ

   FELIPE JIMINEZ TOLEDO,

          Plaintiff,

   vs.

   AUTHENTIC HOSPITALITY GROUP,
   INC., and MONICA ANGULO

          Defendants.
                                         /

                       RESPONSE TO PLAINTIFF’S MOTION TO COMPEL

         The Defendants, by and through their undersigned counsel, hereby fie their Response to

  Plaintiff’s Motion to Compel Discovery and would show:

     1. Due to ethical considerations appurtenant to the Florida Bar and the pending Motion to

         Withdraw, the undersigned firm is presently unable to provide a substantive response to

         the Motion to Compel Discovery.

     2. The undersigned firm therefore requests the entry of a stay in the formal response to this

         Motion until such time as the Court has ruled upon the Motion to Withdraw.

     3 There is no demonstrated harm to Plaintiff by the staying of this Motion. The Court has

         just issued a trial order and scheduling order in this matter, but where trial is not set until

         at least June, 2019.




                                                   1
Case 0:18-cv-60059-WJZ Document 26 Entered on FLSD Docket 06/25/2018 Page 2 of 4



        WHEREFORE, the undersigned firm requests the entry of an Order staying the response

        to the Motion to Compel until such time as the Court has had the opportunity to rule upon

        the pending Motion to Withdraw, and granting such further relief as the Court deems

        appropriate.

        Dated: June 25, 2018.




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                                By:   /s/ Charles Eiss
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                                                2
Case 0:18-cv-60059-WJZ Document 26 Entered on FLSD Docket 06/25/2018 Page 3 of 4




                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 25th day of June, 2018, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached Service List in the manner specified, either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

  are not authorized to receive electronically Notices of Electronic Filing.



                                                s/ Charles Eiss
                                                CHARLES EISS, ESQ.




                                                   3
Case 0:18-cv-60059-WJZ Document 26 Entered on FLSD Docket 06/25/2018 Page 4 of 4




                                          SERVICE LIST

                                    United States District Court
                                    Southern District of Florida
                       Toledo v. Authentic Hospitality Group, Inc. and Angulo
                                   Case No.: 0:18-cv-60059-WJZ



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                                                 4
